Case 2:24-cv-07729-LMG-JRA   Document 4-1   Filed 07/16/24   Page 1 of 5 PageID: 89




                                EXHIBIT A
                     Correspondence with Mr. Blackburn
Case 2:24-cv-07729-LMG-JRA                        Document 4-1              Filed 07/16/24   Page 2 of 5 PageID: 90


  From:                  Griffith, Greer
  To:                    Tyrone Anthony Blackburn, Esq.
  Cc:                    Diskant, Ted; Linsky, Lisa; Erica Wolff
  Subject:               RE: Gardner v. Combs, et al. – Notice of Removal
  Date:                  Monday, July 15, 2024 2:57:08 PM


  Mr. Blackburn,

  I hope you had a nice weekend. I just wanted to follow up on our emails from Friday. We plan to
  submit a letter to the court later today asking it to extend the deadline to move, answer, or
  otherwise respond to the Complaint to September 25, which we understand to be the same
  deadline you have already agreed to for Mr. Combs. We felt it made the most sense to have all
  defendants be on the same schedule so that the Court did not have to deal with multiple rounds of
  motion practice. Moreover, given that you plan to file a motion for remand, we imagine the Court
  will want to address that before dealing with any further motion practice.

  We are hoping we can note your consent to this request, but if you could please let us know your
  position by the end of the day, we will include it with our letter.

  Thanks,
  Greer

  GREER GRIFFITH
  Partner
  McDermott Will & Emery LLP  One Vanderbilt Avenue, New York, NY 10017-3852
  Tel +1 212 547 5578 | Mobile +1 215 913 1418 | Email ggriffith@mwe.com
  Biography | Website | vCard | LinkedIn




  From: Griffith, Greer
  Sent: Friday, July 12, 2024 4:53 PM
  To: Tyrone Anthony Blackburn, Esq. <tblackburn@tablackburnlaw.com>
  Cc: Diskant, Ted <Ediskant@mwe.com>; Linsky, Lisa <llinsky@mwe.com>; Erica Wolff
  <EWolff@shertremonte.com>
  Subject: RE: Gardner v. Combs, et al. – Notice of Removal


  Mr. Blackburn,

  Thanks for letting us know. In the interim, and so as to permit you time to file your motion for
  remand – and the Court to address it – we would like to ask the Court to set the date for
  defendants to move to dismiss or otherwise answer the Complaint for September 25, 2024.
  May we indicate your consent to that request? If not, please let us know, too, and we’ll note
  your objection.

  Best,
  Greer
Case 2:24-cv-07729-LMG-JRA                 Document 4-1   Filed 07/16/24       Page 3 of 5 PageID: 91



  GREER GRIFFITH
  Partner
  McDermott Will & Emery LLP  One Vanderbilt Avenue, New York, NY 10017-3852
  Tel +1 212 547 5578 | Mobile +1 215 913 1418 | Email ggriffith@mwe.com
  Biography | Website | vCard | LinkedIn




  From: Tyrone Anthony Blackburn, Esq. <tblackburn@tablackburnlaw.com>
  Sent: Friday, July 12, 2024 3:59 PM
  To: Griffith, Greer <Ggriffith@mwe.com>
  Cc: Diskant, Ted <Ediskant@mwe.com>; Linsky, Lisa <llinsky@mwe.com>; Erica Wolff
  <EWolff@shertremonte.com>
  Subject: Re: Gardner v. Combs, et al. – Notice of Removal


  [ External Email ]
  Thank you for sharing. I will prepare a motion for remand.

  Regards,

  Tyrone A. Blackburn, Esq.
  T. A. Blackburn Law, PLLC
  TABlackburnlaw.com
  ——————————————————————————————————————
  Please note that the use of the internet for communications with the firm will not
  establish an attorney-client relationship, and messages containing confidential or time-
  sensitive information should not be sent via this media.

  CONFIDENTIALITY NOTICE TO RECIPIENT(S): This e-mail transmission (and/or the
  attachment(s) accompanying it) may contain confidential information belonging to
  the sender, which is protected by the attorney-client privilege. The information is only for
  the use of the intended recipient. If you are not the intended recipient, you are
  hereby notified that any disclosure, copying, or distribution of any information in
  this transmission or the taking of any action in reliance on the contents of
  this transmission is strictly prohibited. Any unauthorized interception of
  this transmission is illegal under the law. If you have received this transmission in error,
  please promptly notify the sender by reply e-mail and then destroy all copies of this
  transmission. Thank you.

  CAUTIONARY NOTICE TO AUTHORIZED RECIPIENT(S): Unless the recipient(s) and the
  law firm transmitting this message are parties to a signed retainer agreement binding
  the law firm to act as attorney for the recipient(s), neither this law firm nor any attorney in
Case 2:24-cv-07729-LMG-JRA                           Document 4-1      Filed 07/16/24           Page 4 of 5 PageID: 92


  its employ is (or may be deemed to be) acting as such attorney. Any message or data
  sent to any recipient(s) as a courtesy is without the benefit of any actual knowledge
  about the particular situation of such recipient(s) and is without any "due diligence" or
  similar inquiry on the part of this firm. Everything stated is purely a general comment or
  suggestion based upon the limited facts presented to this firm.


            On Jul 12, 2024, at 3:52 PM, Griffith, Greer <Ggriffith@mwe.com> wrote:

        ﻿
            Mr. Blackburn,

            Please find attached courtesy copies of the following documents which we filed today
            in the U.S. District Court for the District of New Jersey on behalf of those defendants
            who have been served in Gardner v. Combs, et al., No. BER-L-003365-24, removing the
            case to federal court:
                     Notice of Removal with Exhibits of Gardner v. Combs, et al., No. BER-L-003365-
                     24 (filed on federal court docket)
                     Corporate Disclosure Statement (filed on federal court docket)
                     Notice of Appearance (filed on federal court docket)
                     Notice of Notice of Removal (filed on state court docket)

            In addition, we would like to get a briefing schedule in place for defendants’ anticipated
            motion to dismiss. We understand that you and counsel for Mr. Combs have discussed
            a deadline of September 25, 2024 for the filing of a motion to dismiss prior to removal.
            So as to avoid having multiple briefing schedules in place, we would propose that all
            served defendants in the case file any motions to dismiss by September 25. Please let
            us know if that works for you, and if so we can put together a proposed order for the
            Court. We would also be open to including a date for your brief in opposition if you
            would like us to – if so, please let us know what date you would like us to include.

            Thanks,
            Greer

            GREER GRIFFITH
            Partner
            McDermott Will & Emery LLP  One Vanderbilt Avenue, New York, NY 10017-3852
            Tel +1 212 547 5578 | Mobile +1 215 913 1418 | Email ggriffith@mwe.com
            Biography | Website | vCard | LinkedIn




            ********************************************************************************************************
            ***********
            This message is a PRIVATE communication. This message and all attachments are a
Case 2:24-cv-07729-LMG-JRA                Document 4-1            Filed 07/16/24           Page 5 of 5 PageID: 93


       private communication sent by a law firm and may be confidential or protected by privilege.
       If you are not the intended recipient, you are hereby notified that any disclosure, copying,
       distribution or use of the information contained in or attached to this message is strictly
       prohibited. Please notify the sender of the delivery error by replying to this message, and
       then delete it from your system. Our Privacy Policy explains how we may use your personal
       information or data and any personal information or data provided or made available to us.
       Thank you.
       ********************************************************************************************************
       ***********

       Please visit http://www.mwe.com/ for more information about our Firm.
